Case: 1:07-cv-02566 Document #: 559 Filed: 04/22/14 Page 1 of 2 PageID #:11053




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BARRY GILFAND, AARON GILFAND,                        )
ADAM MASTRUCCI, and SCOTT                            )
LOWRANCE,                                            )
                                                     )       No. 07 C 2566
       Plaintiffs,                                   )
                                                     )       Judge Harry D. Leinenweber
               v.                                    )
                                                     )
SGT. JEFFREY PLANEY, et al.,                         )
                                                     )
       Defendants.                                   )


                          MOTION FOR TURN OVER ORDER

        This cause comes on for hearing on the application of the Plaintiff for an order
requiring the Citation Respondent to turn over the proceeds of the Defendant’s wages
subjected to garnishment. The Citation Respondent is in possession of funds subject to
garnishment herein, Plaintiff states as follows:

        1.       On November 19, 2012 this Honorable Court entered judgment on behalf
of Plaintiffs in the amount of $489,022.40.

        2.     The Citation Respondent is in possession of funds proceeds of Defendant
Jeffrey Planey’s wage garnishment.

        WHEREFORE, Plaintiffs respectfully requests that this Court enter an order for
the Citation respondent to turn over funds of the defendant Jeffery Planey that it is
currently holding pursuant to a served Citation in the amount of $489,022.40, to the
Plaintiffs through their attorneys, Smith, Johnson & Antholt, LLC, to satisfy in part the
judgment entered herein.
Case: 1:07-cv-02566 Document #: 559 Filed: 04/22/14 Page 2 of 2 PageID #:11054




                                             Respectfully Submitted




                                             /s/ Robert W. Johnson
                                             One of the Plaintiffs’ Attorneys

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